              Case 4:21-cr-01527-SHR-DTF Document 49 Filed 09/15/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA


                     CASE NUMBER :                       CR21-01527-SHR-DTF
               Consent of Defendant to Appear Before Magistrate Judge


    After full consultation with counsel I,        Cesar Alejandro Avendano-Soto            voluntarily consent to
go forward with my Change of Plea and/or Admit/Deny Hearing before the United States Magistrate
Judge in person, via telephone, or via video-teleconference.
    I understand that the United States Magistrate Judge will administer the allocution pursuant to Rule
11, Fed. R. Crim. P., and make findings as follows:
    (A) whether Defendant (1) is competent to enter into a plea or make an admission to the petition; (2)
knowingly and voluntarily wishes to enter a plea to the charge(s) or admit to the petition; (3) understands
the charge(s) or petition; (4) whether there exists a factual basis for the charge(s) or petition; and a
recommendation as follows:
    (B) whether the plea of guilty or admission to the petition should be accepted by the District Court.
     After full consultation with counsel, I have given counsel permission to sign Court documents on
my behalf.

             Greta M.            Digitally signed by
                                 Greta M. Vietor           Greta M.            Digitally signed by Greta
                                                                               M. Vietor

             Vietor              Date: 2022.09.15
                                 13:43:47 -07'00'          Vietor              Date: 2022.09.15 13:44:32
                                                                               -07'00'

                          Defendant’s                     Counsel for Defendant’s signature and
                       signature and date                                 date

                                             Digitally signed by
                                     SARAH   SARAH HOUSTON
                                     HOUSTON Date: 2022.09.15
                                             13:39:32 -07'00'
                                     Assistant U.S. Attorney’s signature
                                                  and date

                                                                                       Form Last Modified 6/12/200
